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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


WEBROOT INC. and OPENTEXT, INC.,
                                                        Case No. 6:22-cv-00240-ADA-DTG
               Plaintiffs,

       v.                                               JURY TRIAL DEMANDED

SOPHOS LTD.,

               Defendant.

______________________________________

SOPHOS LTD.,

               Counterclaim-Plaintiff,

       v.

WEBROOT INC., OPENTEXT, INC., and
OPENTEXT CORP.,

               Counterclaim-Defendants.



     DEFENDANT SOPHOS LTD.’S CLARIFICATION OF RELIEF REQUESTED
       Defendant Sophos Ltd. (“Sophos”) filed its Reply in support of its Motion to Dismiss

Claims for Willful and Indirect Patent Infringement in Plaintiffs’ First Amended Complaint Under

Federal Rule of Civil Procedure 12(b)(6) on July 28, 2022. ECF No. 50. In the Conclusion of the

Reply, Sophos mistakenly requested the dismissal with prejudice of Plaintiffs Webroot Inc’s. and

Open Text, Inc.’s (collectively, “Plaintiffs”) post-suit willful and indirect infringement claims.

Sophos clarifies that its Motion to Dismiss requests the dismissal of Plaintiffs’ post-suit willful

and indirect patent infringement claims without prejudice.
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Dated: August 10, 2022                     Respectfully submitted,

                                           /s/ J. Stephen Ravel
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                              CERTIFICATE OF SERVICE

      I hereby certify that all counsel of record are being served with a copy of the foregoing

document via the Court’s CM/ECF system on August 10, 2022.


                                                  /s/ J. Stephen Ravel
                                                  J. Stephen Ravel




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